         Case 8-20-08049-ast          Doc 66      Filed 02/24/23       Entered 02/24/23 18:35:08




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
    In re:
                                                                       Chapter 11
    ORION HEALTHCORP, INC. et al.,1

                           Debtors.                                    Case No. 18-71748 (AST)
    HOWARD M. EHRENBERG, IN HIS CAPACITY
    AS LIQUIDATING TRUSTEE OF ORION
    HEALTHCORP, INC., ET AL.,

                           Plaintiff,                                  Adv. Proc. No. 20-08049 (AST)
    v.

    ARVIND WALIA; NIKNIM MANAGEMENT INC.,

                           Defendants.


         AFFIRMATION OF SANFORD P. ROSEN IN SUPPPORT OF DEFENDANTS’
          OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

                 Sanford P. Rosen, Esq., under penalty of perjury hereby affirms as follows:

                 1.       I am the principal shareholder of Rosen & Associates, P.C. (“Rosen &

Associates”), which firm maintains offices for the practice of law at 747 Third Avenue, New York,

NY 10017-2803.

                 2.       I am admitted to practice before the courts of the state of New York, the

United States District Courts for the Southern and Eastern Districts of New York, the United States

Court of Appeals for the Second Circuit, and the Supreme Court of the United States.

                 3.       I submit this affirmation in support of Defendants’ Opposition to Plaintiff’s

Motion for Summary Judgment.


1
 The debtors in these chapter 11 cases are: Orion Healthcorp, Inc.; Constellation Healthcare Technologies, Inc.;
NEMS Acquisition, LLC; Northeast Medical Solutions, LLC; NEMS West Virginia, LLC; Physicians Practice Plus
Holdings, LLC; Physicians Practice Plus, LLC; Medical Billing Services, Inc.; Rand Medical Billing, Inc.; RMI
Physician Services Corporation; Western Skies Practice Management, Inc.; Integrated Physician Solutions, Inc.;
NYNM Acquisition, LLC; Northstar FHA, LLC; Northstar First Health, LLC; Vachette Business Services, Ltd.;
Phoenix Health, LLC; MDRX Medical Billing, LLC; VEGA Medical Professionals, LLC; Allegiance Consulting
Associates, LLC; Allegiance Billing & Consulting, LLC; and New York Network Management, LLC.
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              4.     Attached hereto is a proposed order denying Plaintiff’s Motion for

Summary Judgment.

Dated: Shelter Island, New York
       February 24, 2023


                                                        Sanford P. Rosen




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In re:
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ORION HEALTHCORP, INC. et al.,1

                          Debtors.                                   Case No. 18-71748 (AST)

HOWARD M. EHRENBERG, IN HIS CAPACITY AS
LIQUIDATING TRUSTEE OF ORION HEALTHCORP, INC.,
ET AL.,
                                                                     Adv. Proc. No. 20-08049 (AST)
                          Plaintiff,
v.

ARVIND WALIA; NIKNIM MANAGEMENT INC.,

                       Defendants.




         ORDER DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
          OR IN THE ALTERNATIVE SUMMARY ADJUDICATION AS AGAINST
           DEFENDANTS ARVIND WALIA AND NIKNIM MANAGEMENT INC.

         The Court, having considered the motion for summary judgment, or in the alternative

summary adjudication as against defendants Arvind Walia and Niknim Management Inc. (“the

“Motion”) [Docket No. ] dated January __, 2023, of Plaintiff, Howard M. Ehrenberg in his

capacity as Liquidating Trustee of Orion Healthcorp, Inc., et al. seeking entry of judgment

against Defendants Arvind Walia and Niknim Management Inc.; the accompanying Joint

Statement Of Uncontroverted Facts; Plaintiff’s Statement Of Additional Uncontroverted Facts
1
 The debtors in these chapter 11 cases are: Orion Healthcorp, Inc.; Constellation Healthcare Technologies, Inc.;
NEMS Acquisition, LLC; Northeast Medical Solutions, LLC; NEMS West Virginia, LLC; Physicians Practice Plus
Holdings, LLC; Physicians Practice Plus, LLC; Medical Billing Services, Inc.; Rand Medical Billing, Inc.; RMI
Physician Services Corporation; Western Skies Practice Management, Inc.; Integrated Physician Solutions, Inc.;
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Associates, LLC; Allegiance Billing & Consulting, LLC; and New York Network Management, LLC.
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In Support Of Motion For Summary Judgment [Docket No. ]; Affidavit Of Jeff Nolan In

Support Of Plaintiff’s Motion For Summary Judgment [Docket No. ]; Affidavit Of Edith Wong

In Support Of Plaintiff’s Motion For Summary Judgment [Docket No. ]; Request For Judicial

Notice In Support Of Plaintiff’s Motion For Summary [Docket No. ]; Affidavit Of Arvind Walia

In Opposition To Plaintiff’s Motion For Summary Judgment [Docket No. ] and the Brief In

Opposition To Plaintiff’s Motion For Summary Judgment or In The Alternative Summary

Adjudication [Docket No. ]; and the Court having duly considered the argument of counsel at

the Hearing; and after due deliberation thereon; and good and sufficient cause appearing

therefor as stated on the record at the Hearing to Issue Ruling on Plaintiff’s Motion [Docket

No. ] (the “Ruling Hearing”); and upon sufficient cause appearing therefore

               1.     The Motion is denied as stated in particular on the record of the Ruling

Hearing.

               2.     The Bankruptcy Court retains jurisdiction to enforce and implement this

order.




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